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        UNITED STATES COURT OF DISTRICT COURT FOR


C. TATE GEORGE                                                              JUN 19    l:.J.\1

                (Petitioner)                                             J,8:3 0 ~ - - - -
                                                                  ~-        WILLIAM T. WALSH M
                                                                                 CLERK
                                                     Civil Action No.: - - - - - - - -
                                                     Crim. Action No. 3:12-CR-204-01 (AET)
V.

UNITED STATES OF AMERICA
                (Respondent)



PETITIONER'S MOTION/REQUEST FOR AN IMMIDATE STAY OF PAYING THE
COURT ORDERED RESITUTION ORDER DUE TO THE COVID-19 PANDEMIC


        NOW COMES the Petitioner C. Tate George, Pro se, and request to this Court for an
"IMMIDIATE STAY" of any (and alD payments owed to the Court per the Court' s ORDER
post-facto of the trial; and in support thereof states the following ;

     1) Petitioner has recently been unexpectantly released from custody to early home
        confinement on June 11 th , 2020, due to the COVID-19 pandemic;

     2) Petitioner hereby in good faith and asked that any (ALL) payments be delayed for good
        cause seeks (to delav until a much later date ... TBD) his $200 monthly payments
        "Ordered" to be paid 30 days after release from custody;

     3) Petitioner is being held on home confinement and has been informed by the organization
        handling the detention process, that Petitioner cannot get a job at this time due to the
        Covid-19 Virus (and alike); and

     4) Petitioner has no working income coming in and cannot make any payments due to the
        restriction mentioned above;


        WHEREFORE; the Petitioner C. Tate George, Prose, respectfully requests this
Honorable Court to GRANT by way of a "NEW COURT ORDER" and issue a "STAY" on
any payments per the Court' s ORDER post trial, due to the COVID-19 pandemic and being held
back from working while on early home confinement and to avoid violation with probation
office and alike, and for such relief deemed appropriate in the Interest of Justice.
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Dated:   ILµL.     2020




                                                C. ate George, Pro se
                                                850 S. 13 th Street
                                                Newark, NJ 07108




                                   AFFIDAVIT

      I HEREBY CERTIFY that the foregoing facts are true and correct to the best of my
knowledge under penalty as per 28 Section 1746.




                           CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a copy of the foregoing motion was mailed this /
                                                                                ·b ltt day
of   ~ 6 , 2020, by first class mail, postage pre-paid to the following;


Office of AUSA:
Zach Intrader
970 Broad Street
Rm. 700
Newark, NJ 07102
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